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March 6, 2023

VIA CM/ECF

Honorable Lawrence J. Vilardo
United States District Court
Western District of New York
Robert H. Jackson United States Courthouse
2 Niagara Square
Buffalo, New York 14202

RE:    Caballero v. Fuerzas Armadas Revolucionarias de Colombia, No. 20-mc-40
       (W.D.N.Y.) — Notice of Supplemental Authority

Dear Judge Vilardo:
We represent Petróleos de Venezuela, S.A. (“PDVSA”) and its Subsidiaries, Aceites y Solventes
Venezolanos Vassa S.A., PDV Marina S.A., Petroanzoategui S.A. (a/k/a Petro San Felix S.A.),
Venfleet Asphalt Ltd., Venfleet Ltd., and Venfleet Products Ltd., in the above-referenced action.
We write to advise the Court that, on February 21, 2023, Judge George B. Daniels issued a
Memorandum Decision and Order dismissing for lack of subject-matter jurisdiction enforcement
proceedings — explicitly modeled on Plaintiff’s enforcement efforts here — within the In re 9/11
Multi-District Litigation in the Southern District of New York. See Ex. 1 (Mem. Decision &
Order, In re: Terrorist Attacks on September 11, 2001, No. 1:03-md-1570, ECF No. 8866
(S.D.N.Y. Feb. 21, 2023)). The decision supports PDVSA’s position, as confirmed by the United
States in its Statement of Interest, that this Court lacks subject-matter jurisdiction over proceedings
attempting to shift liability onto PDVSA and its Subsidiaries for Plaintiff’s default ATA judgment
against the FARC.

As the Court may recall, PDVSA and its Subsidiaries previously informed this Court of the In re
9/11 enforcement proceedings involving assets of the Afghan central bank, Da Afghanistan Bank
(“DAB”), given the identity of issues between the two sets of proceedings. See ECF No. 104. The
plaintiffs in the In re 9/11 enforcement proceedings sought to satisfy their default judgments
against the Taliban by executing against the DAB’s assets, based on the theory that the DAB was
an “agency or instrumentality” of the Taliban as that phrase is used in the Terrorism Risk Insurance
Act (“TRIA”). In short, Judge Daniels’ decision rejected that theory and denied the plaintiffs’
motion for turnover.

As the Court may also recall, Plaintiff placed heavy reliance on the outcome of the In re 9/11
enforcement proceedings and even requested a stay of this action pending a decision in the
Southern District of New York. See ECF No. 111. The Court denied the stay in June 2022,
principally because the In re 9/11 proceedings as to the DAB’s assets had just begun, rendering it
questionable that a decision in those proceedings would issue before a decision in these more
advanced proceedings. ECF No. 118. In denying Plaintiff’s motion to stay, however, this Court
stated: “Of course, if the Southern District were to render a decision first, this Court would review
and consider that decision.” Id. at 4-5.
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After this Court denied Plaintiff’s motion to stay, the Magistrate Judge in In re 9/11 recommended
dismissal of the In re 9/11 enforcement proceedings against the DAB’s assets. See ECF No. 131
at 10 (citing In re: Terrorist Attacks on September 11, 2001, No. 1:03-md-1570, 2022 WL 4643442
(S.D.N.Y. Aug. 26, 2022) (R. & R.)). Judge Daniels has now adopted that recommendation,
holding that TRIA does not provide subject-matter jurisdiction for purported enforcement
proceedings over the assets of an “agency or instrumentality” of a foreign state where the judgment
creditor does not have an underlying judgment against that foreign state under the Foreign
Sovereign Immunities Act (“FSIA”). See Ex. 1 at 2, 10-22. The court therefore denied the In re
9/11 judgment creditors’ turnover motions for lack of subject-matter jurisdiction. Id. at 30. The
same result is compelled here.

Judge Daniels began his opinion by recognizing that the DAB — like PDVSA — is an “agency or
instrumentality of a foreign state” within the meaning of the FSIA and therefore enjoys both
jurisdictional immunity from the courts of the United States (28 U.S.C. § 1604) and from
attachment and execution on its property (id. § 1609). See Ex. 1 at 10-13. These two immunities
“operate independently.” Id. at 13 (quotation marks omitted). Thus, “to reach DAB’s assets, the
Judgment Creditors need exceptions to the FSIA both for the DAB’s jurisdictional immunity and
execution immunity.” Id. at 14.

Mirroring Plaintiff’s theory here, the In re 9/11 judgment creditors invoked TRIA in a misguided
attempt to overcome DAB’s jurisdictional immunity from actions and enforcement proceedings.
Id. Specifically, like Plaintiff, the judgment creditors argued that TRIA’s text “nullified any
relevant constraint on DAB’s jurisdictional immunity by the FSIA.” Id.; see, e.g., ECF No. 90, at
9-10. The judgment creditors argued that TRIA (codified as a note in § 1610 of the FSIA) operates
as an exception to the FSIA’s jurisdictional immunity through § 201(a)’s introductory text stating
that TRIA applies “[n]otwithstanding any other provision of law.” Id. at 15. The court rejected
that argument, concurring with the Magistrate Judge’s view that “TRIA’s notwithstanding clause
is not a bulldozer that clears every possible legal obstacle between a litigant and their goal.” Id. at
17 (quotation marks omitted). The court explained: “TRIA is an execution statute” and therefore
“does not conflict with the provisions of FSIA that deal with jurisdictional immunity.” Id. (italics
supplied). Accordingly, the court held that “TRIA fails to provide the jurisdiction over DAB assets
that the Judgment Creditors need.” Id. at 17-18.

The In re 9/11 court also rejected the judgment creditors’ arguments — substantively identical to
Plaintiff’s arguments here — that they did not need to overcome DAB’s jurisdictional immunity
because their action was a purported post-judgment enforcement proceeding. See id. at 19-22; see
also, e.g., ECF No. 90 at 8-9. The court acknowledged that, under Second Circuit precedents,
including Weinstein v. Islamic Republic of Iran, 609 F.3d 43 (2d Cir. 2010), TRIA “can provide a
court with jurisdiction over the property of a foreign state or its instrumentality where there exists
a valid underlying judgment against the sovereign.” Ex. 1 at 20 (emphasis supplied). But,
“[w]ithout a waiver of jurisdictional immunity” in the underlying judgment, “TRIA § 201(a) does
not offer a freestanding mechanism for waiving a foreign sovereign instrumentality’s immunity to
jurisdiction.” Id.; see also id. at 21 (holding that later Second Circuit precedents “confirm[] the




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narrowness of Weinstein’s holding that pertains only to situations in which there is a valid
underlying judgment against a foreign sovereign”).1

As with Plaintiff’s default ATA judgment against the FARC, the In re 9/11 judgment creditors
hold a judgment against a non-state terrorist party (the Taliban), not against DAB directly nor
against Afghanistan. See id. at 20. Accordingly, the court held that “Weinstein’s application of
TRIA is of no avail” and cannot provide a basis for subject-matter jurisdiction as to DAB. Id. at
21. “Moreover,” the court continued, “TRIA § 201(a) could not be wielded against Afghanistan
or its instrumentalities independently because Afghanistan,” like Venezuela, “has not been
designated as a state sponsor of terrorism.” Id. at 21. TRIA is only operative as to foreign states
that have been designated as state sponsors of terrorism and against which there is an underlying
judgment entered pursuant to the so-called terrorism exception to immunity (28 U.S.C § 1605A).
See ECF No. 131 at 3-4.

And even if the court had subject-matter jurisdiction as to DAB, the turnover motions failed for
the additional reason: the judgment creditors could not use TRIA to execute against DAB’s assets
because those assets were not “of” the judgment debtor. See Ex. 1 at 22-29; see also ECF No. 131
at 7-8. As the court explained, under Rule 69(a) of the Federal Rules of Civil Procedure, TRIA
enforcement proceedings in New York must satisfy the requirements of both N.Y. C.P.L.R.
§ 5225(b) and TRIA. Ex. 1 at 22-23. Both statutes require the judgment creditors to show that
“the judgment debtor” — there, the Taliban (here, the FARC) — “has an interest in the property
the creditor is targeting,” or in the words of TRIA, that the assets are blocked assets “of” the
judgment debtor. Id. at 23; see ECF No. 131 at 7. The judgment creditors, like Plaintiff, attempted
to use TRIA’s “agency or instrumentality” parenthetical to satisfy this requirement but they
misconstrued its meaning. See Ex. 1 at 24; TRIA § 201(a) (providing for execution of “the blocked
assets of the terrorist party (including the blocked assets of any agency or instrumentality of that
terrorist party” (emphasis added)).

Lastly, the court further held that it was constitutionally restrained from finding that DAB was
simultaneously an “agency or instrumentality” of Afghanistan and the Taliban. See Ex. 1 at 25-
29. Under the definition of “agency or instrumentality” propounded in Kirschenbaum, “the
government of Afghanistan necessarily exercises a degree of control or authority over its own
central bank to make the central bank the Afghan government’s agency or instrumentality.” Id. at
25. “The judicial finding the Judgment Creditors seek,” i.e., that DAB is also an agency or
instrumentality of the Taliban, thus “necessarily and impermissibly implies that the Taliban
constitutes the recognized government of Afghanistan.” Id. But recognition is the exclusive
prerogative of the President, who has not recognized the Taliban as the government of
Afghanistan. Id. at 26-29. As a result, the court’s “fundamental conclusion — as required by
TRIA and the Constitution — is that neither the Taliban nor the Judgment Creditors are entitled to
raid the coffers of the state of Afghanistan to pay the Taliban’s debts.” Id. at 29. Likewise Plaintiff



1 The same basic principles that animate Judge Daniels’ holding as to DAB apply equally to PDVSA’s Subsidiaries
under the Supreme Court and Second Circuit precedents in Peacock and Epperson — that a federal judgment creditor
seeking to impose liability for a money judgment on a person not otherwise liable for the judgment must establish an
independent basis for the court’s subject-matter jurisdiction. See ECF No. 131 at 4-5.



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here should not be permitted to raid the coffers of Venezuela and its state-owned entities to pay
the debts of the FARC — a defunct Colombian narco-terrorist organization.

For these same reasons and those stated in their briefs, PDVSA and its Subsidiaries respectfully
submit that this Court lacks subject-matter jurisdiction and should therefore (i) vacate the
Decisions & Orders dated December 18, 2020 (ECF No. 15) and January 29, 2021 (ECF No. 33),
(ii) quash the writs of execution issued under these orders, (iii) vacate the Turnover Judgment
dated January 29, 2021 (ECF No. 35), and (iv) dismiss this action with prejudice.

                                                  Respectfully submitted,

                                                  By: s/ Claire A. DeLelle
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                                                  Counsel for PDVSA and its Subsidiaries


Attachment (Exhibit 1)

cc:   All counsel of record via CM/ECF




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